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                                                                             United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                     IN THE UNITED STATES DISTRICT COURT                            July 13, 2016
                      FOR THE SOUTHERN DISTRICT OF TEXAS                         David J. Bradley, Clerk
                               HOUSTON DIVISION



UNITED STATES OF AMERICA,                    §
                                             §
                     Plaintiff,              §
                                             §
v.                                           §
                                             §         CRIMINAL NUMBER H-10-412-02
SAMUEL JOSEPH JACKSON,                       §
REG. NO. 81720279,                           §
                                             §
                     Defendant.              §



                         MEMORANDUM OPINION AND ORDER


      Defendant, Samuel Joseph Jackson, filed a Motion to Reopen the

Time to File an Appeal Pursuant to App. R. 4 (a) ( 6)                     ("Defendant's

Motion to Reopen")           (Docket Entry No. 511) .         The Government filed

Government's Response to Defendant's Motion to Compel and Motion to

Reopen Time to File an Appeal                ("Government's Response")              (Docket

Entry No.    518).      The court ordered the Government to provide an

affidavit    from      the    mail    room       supervisor   at    FCI    Victorville

Medium II and a        supplemental response to Defendant's Motion to

Reopen. 1   The Government then filed United States'                      Supplemental

Response     to      Jackson' s      Motion       to    Reopen     Time     to       Appeal

                         " Response")
("Government's Supplemental                            (Docket Entry No. 54 0) , and

Defendant filed a Supplemental Response to United States Motion

("Defendant's Response")          (Docket Entry No. 556).


      1
       0rder, Docket Entry No. 525, p. 3.
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      Jackson filed a Petition for a Writ of Habeas Corpus By a

Person in State Custody        (Docket Entry No.         455).   On October 6,

2014, the court entered a Memorandum Opinion and Order granting the

Government's Motion to Dismiss and denying Jackson's              §   2255 motion

(Docket Entry No. 493) and a Final Judgment dismissing his                 §   2255

action     (Docket Entry No.    494) .      Jackson did not file a        timely

notice of appeal.      Instead, on April 27, 2015, he filed his Motion

to Reopen.     To obtain the relief he seeks Jackson must satisfy the

three requirements imposed by Federal Rule of Appellate Procedure

4(a)(6):

      (6)  Reopening the Time to File an Appeal. The district
      court may reopen the time to file an appeal for a period
      of 14 days after the date when its order to reopen is
      entered, but only if all the following conditions are
      satisfied:

              (A)  the court finds that the moving party did
         not receive notice under Federal Rule of Civil
         Procedure 77(d) of the entry of the judgment or order
         sought to be appealed within 21 days after entry;

              (B)  the motion is filed within 180 days after
         the judgment or order is entered or within 14 days
         after the moving party receives notice under Federal
         Rule of Civil Procedure 77(d) of the entry, whichever
         is earlier; and

              (C)  the     court   finds     that   no   party   would   be
         prejudiced.

Fed. R. App. P. 4 (a) (6).


A.    Notice of Entry

      Whether Jackson can satisfy the first requirement hinges upon

when he received notice of the           judgment dismissing his          §    2255

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motion.         The       court' s     Memorandum         Opinion    and    Order    and      Final

Judgment were entered on October 6,                         2014.     If Jackson received

notice of the entry of the Final Judgment on or before October 27,

2014, he cannot satisfy the first requirement of Fed. R. App. P.

4(a)(6).

       Jackson        states         that   he   never     received     the    court's        Final

Judgment.            He    only learned of           it    when he    located it            "on the

Lexis/Nexis search engine" in the prison library. 2                            Jackson argues

that       because        he   did    not   receive       notice    until     well   after      the

October        27,        2014,      deadline,       he     satisfies       4 (a) ( 6) 's     first

requirement.          The Government argues the Final Judgment was entered

on October 6, 2014, and the parties, including Jackson, were sent

notice of the judgment via first-class mail on October 7,                                     2014.

According to the Government, in response to a Government inquiry,

the Clerk of Court stated that "[t]here is not [sic] returned mail

indicated on the docket after that [October 7] date, and there is

no   change      of       address." 3        Under     Rule    4 (a) (6) (A)     Jackson       must

therefore establish that he did not receive the judgment on or

before October 27, 2014.



       2
      Defendant's Motion to Reopen, Docket Entry No. 511, p. 2,
Jackson Affidavit, p. 5 ~ 6.      Jackson does not state when he
learned of the court's Final Judgment, but that he filed his Motion
to Reopen "within two (2) days of learning that my 2255 petition
was denied and dismissed"       (Jackson Affidavit,    attached to
Defendant's Motion to Reopen, Docket Entry No. 511, p. 5 ~ 7).
       3
           Government's Response, Docket Entry No. 518, p. 3, footnote 1.

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       Proof that a letter was mailed creates a presumption that the

letter reached its destination and was received by the addressee.

United States v. Ekong,         518 F.3d 285,     287   (5th Cir.     2007).    The

addressee's     "bare assertion of non-receipt"             is   insufficient to

rebut the presumption of regularity given to the Postal Service.

Id.   (citing Custer v. Murphy Oil USA, Inc., 503 F. 3d 415, 421 (5th

Cir. 2007)).

       Other than his own statement, Jackson has provided no evidence

in support of his contention that he did not receive the judgment

within     twenty-one    days   after    entry.      Because     Jackson's     bare

assertion of      non-receipt    does    not    overcome    the presumption of

delivery of United States mail,               Jackson has    failed   to satisfy

Rule 4(a) (6) (A)'s first requirement.


B.     Timeliness of Motion to Reopen

       Subsection (B) provides two possible deadlines for filing a

motion to reopen the time to file an appeal. 4              Jackson argues that

he filed his Motion to Reopen within 180 days after the judgment

was entered.       This deadline required him to file his motion by

April 6, 2015.      Jackson's Motion to Reopen was filed on April 27,

2015, well after the April 6 deadline.              The Motion to Reopen is


       4
      Jackson does not contend that he satisfies the alternative
deadline in Rule 4(a) (6) (B) by filing his Motion to Reopen "within
14 days after [he] received notice under Federal Rule Civil
Procedure 77(d) of the entry.         "  As explained above, since
Jackson has not persuaded the court that he did not receive the
judgment within 21 days of its entry on October 6, 2014, he could
not avail himself of that alternative deadline.

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dated March 30,            2015       (Motion to Reopen,               Docket Entry No.              511,

p. 5), and Jackson's Response states that he mailed his Motion to

Reopen on March 30,                 2015.      (Defendant's Response,                 Docket Entry

No. 556, p. 8)

        Under the prison mailbox rule a prose petitioner's notice of

appeal under Rule 4 (a)                 is considered filed when the petitioner

delivers the document to prison authorities for mailing to the

district court.            Houston v. Lack, 108 S. Ct. 2379, 2382 (1988).                              In

order    to    prevent          abuse    of    this     rule         courts    have     established

limiting factors to the rule.                        See Natson v. United States,                     494

F.   App'x 3,        5-6    (11th Cir.         2012)        (" [W]e do not understand the

Supreme       Court        in       Houston     to     hold          (or    say)     that         factual

representations,            about       timing,        by     convicted            felons     must     be

accepted-as      a    matter of             law-as    accurate,            unless    the     Executive

Branch has one particular piece of evidence in hand to refute the

prisoner's claim."); Ray v. Clements, 700 F.3d 993, 1011 (7th Cir.

2012) (stating that "the [prisoner]' s requisite evidentiary showing

should be       exacting.             The     prisoner's        sworn        declaration           should

identify the who, what, when, where, how, and why of his alleged

delivery to a prison official.") .                     The Government in Natson refuted

the prisoner's alleged date of filing by providing circumstantial

evidence of      later          filing.        Natson,        4 94     F.   App' x    at     6.      This

evidence      included          a     declaration           from      the     prison        mail     room

supervisor of the policies of the prison mail system.                                       Id.


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     For several reasons the court is not persuaded that Jackson

has satisfied his burden of establishing that he delivered his

Motion to Reopen to prison authorities for mailing on or before

April 6, 2015.         Although Jackson states that he mailed the motion

on March 30,       2015,    the     envelope was       not postmarked until           the

afternoon of April 22,            2015,    and was not received by the court

until April 27,        2015.      (Envelope,       attached to Motion to Reopen,

Docket    Entry    No.     511-1)         The     Declaration   of    the   mail     room

supervisor of the prison where Jackson was housed in April of 2015

states:

            7. The standard practice at FCI II Victorville for
     processing outgoing mail is that inmates may turn in
     their legal mail to Correctional Systems staff on
     weekdays during the noon mail.     This mail is placed in
     the mail room.     The following business morning, the
     outgoing mail is sent to the post office on the same day.
     This practice is in line with national policy, which
     states that "Ordinarily, all outgoing letter mail will be
     processed within 24 hours,       excluding weekends and
     holidays. ["]   In any event, inmate correspondence and
     mail    are    under    the   purview    of   institution
     authorities.         I am unaware of any reason that mail
     would not be sent out per the normal process. There were
     no incidents during the months of March or April 2015
     that would have caused a delay.

Declaration       of     Jennifer         Bourn,     attached    to     Government's

Supplemental Response, Docket Entry No. 540-1, pp. 3-4                      ~   7.

     The Government also argues based on the prison mail logs that

          There were 25 mailings submitted to the mailroom by
     or on behalf of Jackson during the time he was at FCI
     Victorville, from June 19, 2012, see D.E. 402, 403,
     through the date of his last mailing from FCI Victorville
     on May 5, 2015, see D. E. 514.     With the most liberal
     construction, in every mailing but the one at issue

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       (D.E. 511) purportedly delivered to the mailroom by
       Jackson on March 30, 2015, Jackson's mailing was entered
       on this court's docket within 10 days, at the latest,
       after the date Jackson dated or otherwise certified the
       document.

Government's Supplemental Response, Docket Entry No. 540, p. 6.

       Jackson states that he "stands by his word"                         that the mail

room, not he, is the cause of the unusual delay. 5                     He also claims

that there was not a mail log for him to sign when he handed over

his    mail. 6     However,      Jackson's      representation        is    persuasively

refuted by        (1)   Jackson's     prior mail      history with          this   court;

(2)   the affidavit of the mail room supervisor of FCI Victorville

stating how prisoner mail is sent out within a twenty-four hour

time frame;       and    ( 3)   the twenty- two day delay between the time

Jackson claims he filed and the date the prison postmarked his

mail. 7

       The court finds Jackson's sworn statement that he delivered

his    Motion     to    Reopen   on   March     30,   2015,    is   not,     by    itselC

sufficient to satisfy his burden of proving that he deposited his

motion in the prison mail system by April 6, 2015.                     Based upon the

evidence provided by the              Government,      the    court    concludes     that



       5
           Defendant's Response, Docket Entry No. 556, p. 3.
       6
           Id. at 4.
       7
     Government' s Supplemental Response, Docket Entry No. 54 0,
pp. 7-9; Declaration of Jennifer Bourn, attached to Government's
Supplemental Response, Docket Entry No. 540-1, pp. 1-4.

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Jackson likely deposited his Motion to Reopen with prison officials

on April 21 or April 22, 2015, the date the prison postmarked his

mail.       Because this date is well after the April 6, 2015, deadline,

Jackson       also     fails        to   satisfy         the   second            requirement    of

Rule 4(a) {6) (B).         See Fed. R. App. P. 4(a) (6) (B).                     Because Jackson

has failed to satisfy two of Rule 4 (a) ( 6) 's requirements, 8 his

Motion to Reopen the Time to File an Appeal Pursuant to App. R.

4(a) (6)     (Docket Entry No. 511) is DENIED.

        Jackson      has    also     filed     a    request     that     a       Federal   Public

Defender be appointed "to investigate my case and to determine

whether       I   am       eligible      for       any    relief        under       Johnson     v.

United States."             (Request for FPD Representation,                       Docket Entry

No. 566)       In Johnson v. United States, 135 S. Ct. 2551 (2015), the

Court held that the residual clause of the Armed Career Criminal

Act (ACCA), 18 U.S.C.           §    924(e) (2) (B) (ii), for purposes of sentence

enhancement          for    a       felon's        possession      of        a     firearm     was

unconstitutionally vague.                In Welch v. United States, 136 S. Ct.

1257 (2016), the Court held that its decision in Johnson announced

a substantive rule that applied retroactively on collateral review.

Jackson's sentence was not based on the ACCA, and the ACCA did not

affect his advisory sentencing guideline                         range.            (Nor was his



        8
     Because Jackson has failed to satisfy the requirements of Fed.
R.  App.    4(a) (6) (A)&(B), the  court  will   not  address   the
Rule 4(a) (6) (C) prejudice issue.

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guideline range or his sentence affected by 18         u.s.c.   §   16, which

defines a "crime of violence." 9 )

     Accordingly, Jackson's Request for FPD Representation (Docket

Entry No. 566) is DENIED.

     The Clerk will provide a copy of this Memorandum Opinion and

Order to the parties.

     SIGNED at Houston, Texas, on this the 13th day of July, 2016.




                                           UNITED STATES DISTRICT JUDGE




     Presentence Investigation Report, Docket Entry No. 260, ~~ 54-
     9

63; Second Addendum to the Presentence Report, Docket Entry
No. 294.

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